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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

   KAABOOWORKS SERVICES, LLC,                     )
                                                  )
             Plaintiff,                           )
                                                  ) CIVIL ACTION NO. 1:17-cv-02530-CMA-KLM
   v.                                             )
                                                  ) AMENDED COMPLAINT
   BRIAN PILSL                                    )
                                                  ) DEMAND FOR JURY TRIAL
             Defendant.                           )
                                                  )
                                                  )

                 AMENDED COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

            Comes now, KAABOOWorks Services, LLC (“KAABOO” or “the Company”) and complains

   as follows:

                                         NATURE OF THE CASE

            1.        KAABOO is the first of its kind organizer and manager of what the Rolling Stone

   called “the Ultimate Entertainment Mix-perience” and Consequence of Sound described as “a unique

   spin on what a festival could be.” The first live-music and adult culture festival under the KAABOO

   brand was held in Del Mar, California in 2015. This yearly festival is unique in that it combines music,

   comedy, art and culinary experiences with upscale features such as cabanas, spa-like indulgences, an

   on-site swimming pool, and a variety of other services not generally available at typical music

   festivals. It has been extremely successful due to its ability to create a unique upscale experience for

   the attendees and attract large corporate partners and group sales clients, “that is so much different

   than any other festival out there” according to Huffpost. Corporate partnership and business

   development is a profitable business unit at KAABOO. KAABOO’s unique system has led to


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   industry-leading spending per capita on corporate sponsorships and food and beverage. As a result of

   its unique system of operating which is the secret to its success, KAABOO is in the process of

   expanding into other geographic markets.

            2.        Brian Pilsl (“Pilsl”) worked for KAABOO as the Senior Vice President of Business

   Development from October 1, 2015 until October 10, 2017. When he joined Plaintiff, the employment

   offer letter that he signed informed him that he will be required to execute a confidentiality agreement

   as a condition of his employment at KAABOO. He also agreed to be bound by KAABOO’s

   confidentiality policy contained in its employee handbook. Moreover, during his employment at

   KAABOO, as a supervisor, he was responsible for making sure that his direct reports signed

   confidentiality agreements with KAABOO and employee handbook acknowledgment forms. Even

   prior to working for KAABOO as an employee, Pilsl signed a non-disclosure agreement with

   KAABOO on behalf of his company that provided consulting services to KAABOO in the corporate

   sponsorship arena.

            3.        During his employment at KAABOO, Pilsl had access to the entire attendee list for the

   festival, the festival budget information, and the information about the pricing and other terms offered

   to the potential and existing corporate partners and group sales clients. This information was not public

   and would be of immense economic value to KAABOO’s competitors in the festival industry.

            4.        Since his termination from KAABOO to the present, Pilsl has provided sales consulting

   services to persons and/or entities in the music industry, including music festivals, which is the same

   service he provided on behalf of KAABOO.

            5.        On May 7, 2018, Defendant Brian Pilsl established SP3 Consulting, LLC (“SP3”). SP3

   is located at 11213 Green Park Circle, Tampa, Florida 33626, Pilsl’s home address. Defendant Pilsl is


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   listed as the manager of SP3. SP3 provides sales consulting services to persons and/or entities in the

   music industry, including music festivals, which are the exact same services provided by Pilsl to

   KAABOO.

            6.         Upon information and belief, Pilsl wrongfully possesses KAABOO’s trade secrets and

   confidential information and continues to use the same personal electronic devices he used while at

   KAABOO.            Based on information and belief, these personal electronic devices still contain

   KAABOO’s trade secret and confidential information.

                                                     PARTIES

            7.         Plaintiff KAABOOWorks Services, LLC (“KAABOO” or “Plaintiff”) is a Delaware

   limited liability company with its principal place of business at 5619 DTC Parkway, Suite 800,

   Greenwood Village, Colorado, 80111.

            8.         All members of KAABOO are Delaware limited liability companies whose members

   are citizens of Colorado or California.

            9.         Defendant Brian Pilsl (“Pilsl”) is a citizen and resident of Florida residing as 11213

   Green Park Circle, Tampa, Florida 33626.

                                         JURISDICTION AND VENUE

            10.        This Court has personal jurisdiction over Defendant because the acts alleged occurred,

   in whole or in part, within the Court’s District.

            11.        This Court has subject matter jurisdiction over Plaintiff’s federal claim pursuant to 28

   U.S.C. § 1331.




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            12.        This Court has diversity jurisdiction over Plaintiff’s claims pursuant to 28 U.S.C. §

   1332 because the amount in controversy, upon information and belief, exceeds $75,000.00 and the

   Parties are citizens of different states/territories.

            13.        This Court has supplemental jurisdiction over Plaintiff’s state-based claims pursuant to

   28 U.S.C. § 1367 because they are so related to Plaintiff’s federal claim that they form part of the same

   case or controversy under Article III of the United States Constitution (“U.S. Const.”).

            14.        Venue is properly placed in this District, pursuant to 28 U.S.C. § 1391(b), because the

   facts and events giving rise to Plaintiff’s claims occurred in this District.

                                        SUBSTANTIVE ALLEGATIONS

                  A.      KAABOO’s Business and Trade Secrets and Confidential Information

            15.        KAABOO is a Colorado-based live-music and entertainment company focused on

   organizing and managing high-end music and adult culture festivals targeted to an audience of 25

   years to 60 years of age. The first KAABOO festival debuted in Del Mar, California in 2015, and was

   so successful that the Company is in the process of expanding into other geographic markets. With

   upscale amenities, private cabanas, concierge service, gourmet food and drinks, surfing lessons,

   massages, a Las Vegas-styled “day club,” and a swimming pool overlooking one of the main stages –

   the festival has attracted attendees, group sales clients, and corporate partners from all over the

   country.

            16.        KAABOO fiercely protects the proprietary information about its business and its unique

   system of operating that has made it successful in a highly-competitive festival market. Each year,

   long before the next year’s festival is to take place, KAABOO negotiates contracts with partners for

   the upcoming event, and begins the process of identifying additional prospective partners. While the


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   corporate logos of the partners can be found on KAABOO’s website, the names of the decision-

   makers within such organizations and the terms of their contracts with KAABOO are kept

   confidential. The names of the prospective partners and group sales clients, as well as any information

   learned during negotiations with such parties, is also considered proprietary by KAABOO. KAABOO

   includes confidentiality clauses in all of its agreements with corporate partners. The names of

   prospective corporate partners and the financial information related to the existing corporate partners is

   not available to the public and would be of immense economic value to KAABOO’s competitors in the

   festival industry.

            17.       All of the financial information related to KAABOO’s festival, including, but not

   limited to, pricing strategies, production costs, budgets, the terms of the vendor contracts, revenue,

   expenses, media buy rates, and other financial information related to the organization of the festival is

   considered proprietary by KAABOO and is not disclosed to the public.

            18.       KAABOO protects it confidential information and trade secrets in the following

   manner: (1) KAABOO employees are notified in the employment offer letter that they will be

   required to sign a confidentiality agreement; (2) KAABOO employees are required to execute

   confidentiality agreements; (3) KAABOO provides only restricted access to various files on its Google

   drive; (4) KAABOO employees can access certain files on a restricted basis only after entering a

   Company-provided login and password; (5) KAABOO requires employees to read its Employee

   Handbook, which contains a confidentiality policy and provides an acknowledgment that they will

   agreed to abide by that policy; (6) upon employees’ termination of employment, their access to

   Company files on Google drive is immediately cut off; (7) KAABOO requires its employees to certify

   that they have returned all confidential information and trade secrets to KAABOO upon their


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   termination of employment; (8) KAABOO requires that all of its consultants and independent

   contractors sign non-disclosure agreements; and (9) KAABOO includes non-disclosure obligations in

   all of its contracts with corporate partners.

            19.        During his employment at KAABOO, Pilsl had access to many of the categories of the

   confidential information and trade secrets identified above. He also specifically had access to the

   following confidential information and trade secrets: (1) the entire attendees list for the festival,

   including their contact information, preferences, and demographic information; (2) the festival budget

   information; (3) the names of prospective corporate partners; (3) information about the pricing and

   other deal terms offered to the existing corporate partners; (4) analyses of the festival results; (5)

   prospective locations and plans for expansion of the KAABOO brand; (6) hospitality pricing

   information; (7) contract templates for hospitality, culinary, and corporate partnerships; (8) sales team

   reports; (9) strategies for identifying corporate partners; (9) payment and financial information related

   to corporate partners; (10) information related to specific needs and preferences of the corporate

   partners; and (11) sponsorship pricing, sales data and sales strategy.

            20.        Pilsl received a lot of this information during his frequent trips to Colorado, when he

   attended meetings with other KAABOO employees and executives to discuss the marketing strategy

   and different aspects of festival planning. In the course of his employment, he also participated in

   numerous conference calls with KAABOO’s employees in Colorado, during which he learned

   confidential information and trade secrets of KAABOO.

                  B.      Pilsl’s Confidentiality Obligations with KAABOO

            21.        In 2014, Pilsl’s consulting company, Sprocket Marketing LLC (“Sprocket”), entered

   into a sponsorship services agreement with KAABOO and an affiliated company to assist within the


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   corporate sponsorship arena. As part of that agreement, Sprocket, and its employees, including Pilsl,

   agreed not to disclose any of KAABOO’s confidential information that they would learn during that

   engagement.

            22.       In 2015, KAABOO hired Pilsl as a Senior Vice President of Revenue Management,

   which later changed to Senior Vice President, Business Development. His employment offer letter

   stated that he will be required to execute a confidentiality agreement with KAABOO as a condition of

   his employment. He also received a copy of KAABOO’s employment handbook, which explained

   what information KAABOO considered confidential and prohibited employees from using or

   disclosing such information. Specifically, the employee handbook stated the following:

                     employees during the course of their work. This Handbook, for example,
                      contains proprietary information. Confidential information is any Company
                      information that is not known generally to the public or to the industry. Such
                      information may include, but is not limited to: client lists, client records and
                      information (including credit card information and numbers), any wiring or
                      banking instructions, personnel files, computer records, financial and
                      marketing data, process descriptions, and trade secrets. Confidential
                      information also includes information provided to the Company by third parties
                      (such as attendees or investors) with an expectation that it will be treated in a
                      confidential manner. Given the nature of the Company’s business, protecting
                      proprietary and confidential information is of vital concern to the Company and
                      its clients.

                     Employees’ Obligations. Employees must not use or disclose any proprietary
                      or confidential information they obtain during their employment with the
                      Company, except as required by their jobs or as instructed by the Chairman and
                      CEO or President. These obligations remain with employees even after their
                      employment relationship with the Company ends. Employees who gain access
                      to confidential information may not use such confidential information for their
                      own direct or indirect personal gain, or for the gain of any other party, either
                      during or after their employment with the Company. Employees are subject to
                      separate Confidentiality Agreements, which more specifically set forth the
                      limitations.




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            23.       The employee handbook also clearly stated that KAABOO employees are required to

   immediately return the Company’s confidential information and trade secrets upon termination of their

   employment:

                     On termination of employment, whether voluntary or involuntary, or at such
                      earlier time as the Company may request, all Company documents, computer
                      records, and other tangible Company property in the employee’s possession or
                      control must be returned to the Company. Employees also must remove all
                      confidential Company information from their personal electronic devices,
                      computer equipment and personal accounts, including any flash drives,
                      SmartPhones, personal email accounts, cloud-based storage, cell phones, and
                      related items.


            24.       As a supervisor, Pilsl knew about this policy, agreed to it, and was responsible for

   having his direct reports read the policy and execute the handbook acknowledgement forms. He was

   also responsible for making sure that his employees executed confidentiality agreements with

   KAABOO.

            25.       For example, on October 3, 2016, KAABOO hired Pilsl’s wife to work under Pilsl as a

   Director of Partnership Activation. Her offer letter, which she signed and acknowledged, stated that

   she agreed that as a condition of her employment with KAABOO, she had to execute and return

   KAABOO’s confidentiality agreement. She also executed a non-competition and non-solicitation

   agreement with KAABOO which stated the following:

                     Employee acknowledges and agrees that the Confidential Information is solely
                      the property of the Company Group and is worth the Company Group’s
                      protection, that the covenants contained in this Agreement are a reasonable
                      means to provide such protection, and that Employer would not employ
                      Employee or continue to employ Employee or provide Employee with such
                      Confidential Information without the agreements of Employee contained
                      herein. Employee further agrees that the unauthorized use and/or disclosure of
                      Confidential Information to any Competitor (as defined below) of Employer or
                      any member of the company Group could provide such Competitor with a


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                      competitive advantage over Employer and/or any member of the Company
                      Group.

                     “Confidential Information” means any information (whether in paper or
                      electronic form, contained in Employee’s memory, or otherwise stored or
                      recorded), including but not limited to trade secrets, that is not generally known
                      and relates to the Company Group’s Business or to its actual or demonstrably
                      anticipated research or development, if such information is not readily
                      disclosed by inspection of the Company Group’s products and services, and if
                      it has been expressly or implicitly protected by the Company Group from
                      unrestricted use by persons not associated with the Company Group.
                      Confidential Information includes, but is not limited to, information relating to
                      the manner and details of the Company Group’s operation, organization and
                      management; products; manuals; procedures; techniques; plans of any kind,
                      including without limitation, strategic, short-term, litigation-related marketing
                      and transaction-related; security measures; artwork; valuation methods; graphic
                      designs; passwords; security codes; best practices; business systems and
                      processes; projects; innovations; and research and technology of any kind; any
                      information regarding persons who have or have had relations with the
                      Company Group, including past, existing or prospective business contacts;
                      actual or prospective customer and client lists and related information; client
                      tracking data; information regarding the Company Group’s vendors, brokers,
                      investors, experts, consultants, contractors, customers and professionals
                      (including those persons who are principals, partners (general or limited),
                      members, officers, directors, employees, and agents of the Company Group);
                      personnel information; artists contact information, desires and preferences for
                      appearances/performances; artist fees and cost information; analyses of
                      location and performance space; business/brand partnerships or sponsorship,
                      public relations, marketing, and media information; productions costs; existing
                      and potential sponsor information, including contact names; all agreements
                      entered into or contemplated by the Company Group; all products and formulas
                      developed by or for the Company Group, sold by the Company Group or used
                      in the Company Group’s Business; programs, databases and computer systems
                      of all kinds, including the data maintained on such systems, as well as the
                      software, hardware and documentation supporting such databases or computer
                      systems; product development information; projections and forecasts;
                      information regarding ownership, storage and valuation of client artwork;
                      finance and tax information; budgets; payroll and benefits information;
                      accounting data; profit margins; pricing issues and concessions; payment and
                      credit terms and history; accounts receivable and payable information;
                      acquisitions and target information; negotiation notes and strategies;
                      prospective buyer or seller information; and information concerning legal
                      actions and threatened legal actions, claims, information generated, modified,
                      or obtained by Employee during Employee’s employment and information of

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                       the Company Group’s affiliates, distributors, customers, vendors, consultants,
                       contractors, partners, members, shareholder, investors, employees, and other
                       third parties that was disclosed or entrusted to the Company Group or to
                       Employee in the course of business with the expectation of confidentiality.

            26.        Therefore, when Pilsl left KAABOO, he was fully aware of what Plaintiff considered

   confidential and his obligations with respect to such information after he left KAABOO.

            27.        During his employment relationship with KAABOO, Pilsl used personal electronic

   devices to conduct his work, including laptop computers and hand-held electronic devices, including

   smartphones.

            28.        Based on information and belief, the personal electronic devices used by Pilsl during

   his employment with KAABOO contained and likely still contain KAABOO’s trade secret and

   confidential information.

            29.        On information and belief, upon termination of the employment relationship, Pilsl did

   not return and/or destroy KAABOO’s trade secret and confidential information from his personal

   electronic devices.

                  C.      Pilsl’s Termination

            30.        KAABOO terminated Pilsl’s employment with KAABOO on October 10, 2017. At

   that time, he was asked to sign a certification acknowledging that he had returned all KAABOO

   property in his possession, including confidential, proprietary, and trade secrets information, in any

   form (electronic and hard copy) and that he did not keep copies of such information. Pilsl refused to

   sign the certification. Pilsl also told the CEO of KAABOO that he was planning to restart Sprocket.

   Without a doubt, the information Pilsl learned while working for KAABOO would be very valuable to

   Sprocket, which specializes in corporate sponsorships.



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            31.       Pilsl avers that he obtained KAABOO’s confidential documents and information during

   his employment with KAABOO, but refuses to certify or otherwise confirm that he has returned or

   destroyed such material and information.

            32.       On October 20, 2017, KAABOO emailed Pilsl at his personal email address reminding

   him again that he had a duty to return KAABOO’s property, including its confidential information and

   trade secrets and requesting that he do so. Pilsl has not done so. Upon information and belief, Pilsl

   remains in possession of KAABOO’s trade secrets and confidential information.

            33.       Following his termination and while in wrongful possession of KAABOO’s trade

   secrets, Pilsl has provided and continues to provide sales consulting services to music festivals, which

   potentially is directly competitive to KAABOO.

            34.       On May 7, 2018, Pilsl formed SP3 under Florida law.

            35.       SP3 is an entity, according to Pilsl’s own sworn testimony, that provides sales

   consulting services to persons and/or entities in the music industry, including music festivals.

   Pursuant to Pilsl’s own testimony, SP3’s business model, at least in part, is similar to, if not the same,

   as the work he provided on behalf of KAABOO.

            36.       Based on information and belief, Pilsl used and still uses the same personal electronic

   devices that he used while at KAABOO, which based on information and belief contains KAABOO’s

   trade secrets and confidential information.

                                                COUNT I
                  (Violation of the Colorado Trade Secrets Act – C.R.S. § 7-74-101 et seq.)

            37.       KAABOO incorporates herein by reference all other paragraphs of this Complaint as if

   those allegations were set out explicitly herein.



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              38.     KAABOO stores its financial information, information related to prospective and

   current partners, attendees, and vendors, marketing strategies, future business development plans,

   artists’ and performers’ information, and documents related to the know-how gained from organizing,

   marketing, and managing prior KAABOO festivals, on the system, access to which is password-

   protected and restricted. Furthermore, access to this information is granted only on a restricted basis.

              39.     This information is not readily ascertainable or generally known in the industry and

   gives KAABOO an economic advantage over its competitors.

              40.     KAABOO has engaged in reasonable efforts to maintain the confidentiality of the

   subject information. In addition to storing this information on a password-protected and restricted

   network, KAABOO has also sought to protect its confidential nature by limiting its employees’ use of

   the information through confidentiality policies and agreements prohibiting the disclosure of such

   information to third parties.

              41.     KAABOO’s financial information, information related to prospective and current

   partners and group sales clients, attendees and vendors, marketing strategies, future business

   development plans, and the know-how gained from organizing, marketing, and managing prior

   KAABOO festivals, therefore, constitute trade secrets under the Colorado Trade Secret Act.

              42.     In his capacity as a Senior Vice President of Business Development at KAABOO, Pilsl

   had access to KAABOO’s trade secrets and confidential information.

              43.     Upon information and belief, Pilsl has acquired KAABOO’s trade secrets by improper

   means in breach of his confidentiality obligations and has disclosed and/or is using KAABOO’s trade

   secrets.




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            44.       To provide services for and on behalf of KAABOO, Pilsl used personal electronic

   devices.

            45.       While employed by KAABOO, Pilsl utilized KAABOO’s trade secrets and confidential

   information on a regular basis.

            46.       While employed by KAABOO, Pilsl accessed KAABOO’s information and materials,

   including trade secrets and confidential information, on his personal electronic devices.

            47.       Upon information and belief, upon termination of the employment relationship, Pilsl

   did not destroy and/or return KAABOO’s trade secret and confidential information, including the

   information on his personal electronic devices.

            48.       Pilsl’s current possession of KAABOO’s trade secrets and confidential information on

   his personal devices coupled with his provision of potentially competitive sales consulting services

   indicates an actual or threatened wrongful use or disclosure of KAABOO’s trade secrets and

   confidential information.

            49.       As a direct and proximate result of Pilsl’s misappropriation of trade secrets, KAABOO

   has suffered and will continue to suffer, irreparable harm, as well as damages to be proven at trial, but,

   upon information and belief, at least more than $75,000.

            50.       Because KAABOO’s remedy at law is inadequate, KAABOO seeks preliminary and

   permanent injunctive relief. KAABOO is threatened with use and disclosure of its confidential

   information and trade secrets and with losing its attendees, corporate partners and group sales clients,

   and its competitive advantage and good will in an amount that may not be possible to determine.

   Thus, Pilsl must be restrained from use and disclosure of KAABOO’s trade secrets, and must be

   compelled to return KAABOO’s trade secrets and confidential information to KAABOO.


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            51.       Pilsl’s actions are willful and malicious, thereby entitling KAABOO to recover punitive

   damages and an award of attorneys’ fees.

                                                 COUNT II
                        (Violation of the Defend Trade Secrets Act 18 U.S.C. § 1832)

            52.       KAABOO incorporates herein by reference all other paragraphs of this Complaint as if

   those allegations were set out explicitly herein.

            53.       KAABOO stores its financial information, information related to prospective and

   current partners and group sales clients, attendees, and vendors, marketing strategies, future business

   development plans, and documents related to the know-how gained from organizing, marketing, and

   managing prior KAABOO festivals, on the system, access to which is password-protected and

   restricted. Furthermore, access to this information is granted only on a restricted basis.

            54.       This information is not readily ascertainable or generally known in the industry and

   gives KAABOO an economic advantage over its competitors.

            55.       KAABOO has engaged in reasonable efforts to maintain the confidentiality of the

   subject information. In addition to storing this information on a password-protected and restricted

   network, KAABOO has also sought to protect its confidential nature by limiting its employees’ use of

   the information through confidentiality policies and agreements prohibiting the disclosure of such

   information to third parties.

            56.       KAABOO’s financial information, information related to prospective and current

   partners, group sales clients, attendees, and vendors, marketing strategies, future business development

   plans, and the know-how gained from organizing, marketing, and managing prior KAABOO festivals,

   therefore, constitute trade secrets under the Defend Trade Secrets Act.



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            57.       In his capacity as a Senior Vice President of Business Development at KAABOO, Pilsl

   had access to KAABOO’s trade secrets.

            58.       Upon information and belief, Pilsl has acquired KAABOO’s trade secrets by improper

   means in breach of his confidentiality agreement and has disclosed and/or is using KAABOO’s trade

   secrets, including potentially providing directly competitive sales consulting services and the

   establishment of a directly competitive business, SP3, while in possession of KAABOO’s trade secrets

   and confidential information.

            59.       As a direct and proximate result of Pilsl’s misappropriation of trade secrets, KAABOO

   has suffered and will continue to suffer, irreparable harm, as well as damages to be proven at trial, but,

   upon information and belief, at least more than $75,000.

            60.       Because KAABOO’s remedy at law is inadequate, KAABOO seeks preliminary and

   permanent injunctive relief. KAABOO is threatened with use and disclosure of its confidential

   information and trade secrets and with losing its attendees, corporate partners and group sales clients,

   and its competitive advantage and good will in an amount that may not be possible to determine.

   Thus, Pilsl must be restrained from use and disclosure of KAABOO’s trade secrets, and must be

   compelled to return KAABOO’s trade secrets and confidential information to KAABOO.

            61.       Pilsl’s actions are willful and malicious, thereby entitling KAABOO to recover punitive

   damages and an award of attorneys’ fees.

                                                   COUNT III
                                                  (Conversion)

            62.       KAABOO incorporates herein by reference all other paragraphs of this Complaint as if

   those allegations were set out explicitly herein.



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            63.       Pilsl has committed unauthorized assumption and exercised the right of ownership over

   goods and personal chattels belonging to KAABOO to the exclusion of KAABOO’s rights.

            64.       As a direct and proximate result of Pilsl’s illegal and unlawful conversion, KAABOO

   has suffered and will continue to suffer, irreparable harm, as well as damages to be proven at atrial,

   but, upon information and belief, at least more than $75,000.

            65.       Because KAABOO’s remedy at law is inadequate, KAABOO seeks preliminary and

   permanent injunctive relief. KAABOO is threatened with use and disclosure of its confidential

   information and trade secrets and with losing its attendees, corporate partners, group sales clients, and

   its competitive advantage and good will in an amount that may not be possible to determine. Thus,

   Pilsl must be restrained from use and disclosure of KAABOO’s trade secrets, and must be compelled

   to return KAABOO’s trade secrets and confidential information to KAABOO.

            WHEREFORE, Plaintiff, KAABOO, respectfully prays for an Order:

                      (a)    Ordering Defendant to deliver Plaintiff’s confidential information and trade
                             secrets (as defined in KAABOO’s employee handbook) in Defendant’s
                             possession and/or his attorney’s possession, custody and control to the
                             undersigned counsel within twenty-four (24) hours, together with a signed
                             representation that Defendant, and his attorney, did not alter, destroy, remove,
                             copy or retain any document, file or information;

                      (b)    Entering preliminary and permanent injunctions that enjoin Defendant from
                             using, disclosing, or misappropriating KAABOO’s trade secrets and
                             confidential information;

                      (c)    Entering judgment in favor of Plaintiff and against Defendant;

                      (d)    Awarding Plaintiff compensatory damages commensurate with the value of its
                             lost business and expectancies, its damaged business relationships, its loss of
                             reputation, the misappropriations of its property and the conversions of its
                             property;

                      (e)    Awarding Plaintiff the value of the unjust enrichment to Defendant arising
                             from the misappropriation of Plaintiff’s trade secrets;

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                      (f)   Awarding Plaintiff restitution and/or the value of the unjust enrichment to
                            Defendant arising from his misappropriation of KAABOO corporate assets;

                      (g)   Awarding Plaintiff punitive and exemplary damages for the intentional harm
                            inflicted on Plaintiff by Defendant;

                      (h)   Awarding Plaintiff the value of its reasonable attorneys’ fees and costs; and

                      (i)   Awarding Plaintiff all such further and other relief as this Honorable Court
                            deems just and adequate.

   Dated this 1st day of August 1, 2018.

                                                  Respectfully submitted,

                                                LEWIS BRISBOIS BISGAARD & SMITH LLP
                                                By /s/ Jon J. Olafson
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